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                                                November 1, 2018 

 VIA ECF

 Honorable Judge Claire C. Cecchi
 United States District Court
 District of New Jersey
 Martin Luther King Building & U.S. Courthouse
 50 Walnut Street
 Newark, NJ 07101


        In Re: Proton-Pump Inhibitor Products Liability Litigation
               2:17-md-2789 (CCC)(MF) (MDL 2789)


 Dear Judge Cecchi,

         Plaintiffs respectfully submit this letter in advance of the November 5, 2018 Status
 Conference to provide context to the Court for certain items listed in the parties’ Joint Status Report
 and Agenda. As described herein, Plaintiffs request guidance and rulings from the Court to insure
 that discovery moves forward efficiently and that we will be prepared for trial by September 2020.

 Plaintiffs’ Requests for Depositions of Defense Witnesses under CMOs 17-20

          As the Court is aware, the parties negotiated a document production schedule and “soft
 caps” on the number of depositions for the AstraZeneca, Takeda, Pfizer/Wyeth, and P&G
 Defendants. See Case Management Orders Nos. 17-20. Throughout that process, the PSC made
 it clear that it would need to begin depositions in the fall. Indeed, it is necessary to do so in order
 to prepare expert reports by December 2019, pursuant to Scheduling Order [CMO 21] and given
 the number of defendants and products implicated in this litigation. With that goal in mind,
 Plaintiffs served some initial deposition notices on the Takeda and AstraZeneca Defendants on
 October 18, 2018. These depositions were noticed for November as placeholder dates, with the
 understanding that the parties would confer on the exact dates and locations for these examinations.
 While the Takeda Defendant has already provided dates to the PSC, as of the writing of this letter,
 the AstraZeneca Defendant has failed to do so. Defendants have known for some time that we
 intended to commence depositions in the fall and the PSC will need to set deposition dates quickly
 so that the parties can move forward with discovery.

 Production of Clinical Documents and Data

        This issue relates to the document production from the AstraZeneca Defendants. As the
 Court may recall, the PSC served their first Request for the Production of Documents in September


                                                                                                        
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 26, 2017. Included in this request was a demand for the production of clinical trial documents and
 data relating to Prilosec and Nexium. Such documents are critical, as they contain significant
 information relating to the safety and efficacy of the PPIs at issue. In connection with the parties’
 discovery negotiations and initial 30(b)(6) depositions, AstraZeneca supplied a list of more than
 1,500 clinical trials involving Prilosec and/or Nexium. Over the last year, AstraZeneca has made
 several production of clinical documents and the PSC’s understanding was that the clinical data
 production was to be completed in October 2018.

          Unfortunately, after completing a rigorous review of this production and comparing it to
 the list of clinical trials provided by AstraZeneca, we have found this production to be woefully
 deficient. Indeed, we are missing information on hundreds of clinical trials that should have been
 produced—particularly because clinical trial information is usually subject to long-term retention
 policies and is kept in centralized databases and locations. Nevertheless, cognizant of
 AstraZeneca’s production burdens, we have narrowed the list to certain studies for which we are
 requesting additional information. On October 24, 2018, we provided AstraZeneca with a list of
 83 Prilosec studies for which were missing critical information. Notably, the total list of Prilosec
 studies identified by Defendant includes approximately 930 studies. An additional 638 Nexium
 studies have also been identified by AstraZeneca.1

         Specifically, the additional information sought by Plaintiffs includes clinical study reports
 for certain trials, as well as case report forms and SAS2 datasets for select studies. Case Report
 Forms (“CRFs”) are critical in that they are the means by which investigators report and describe
 adverse events that occur during the course of a clinical trial. It is important for Plaintiffs to review
 such forms to insure that adverse events relating to kidney injury were not missed and were
 properly characterized when reported to the FDA and in medical literature. SAS datasets are also
 very important because analysis of this data is done for safety signal detection, as well as statistical
 analysis provided to the FDA in support of applications to the Agency for approval to market a
 prescription drug. SAS data is routinely produced in discovery, pursuant to applicable protective
 orders, and is needed by Plaintiffs’ experts to analyze adverse events across multiple studies or
 groupings of studies, where appropriate.

         As of the writing of this letter, we have not received agreement from AstraZeneca that they
 will produced the requested information and data. Notably, AstraZeneca has previously
 represented that it would only be willing to provide SAS datasets that it provided to the FDA,
 rather than all SAS data relating to their PPI products. Such information will be needed for
 discovery to move forward, particularly as it relates to clinical research and pharmacovigilance
 witnesses. Plaintiffs need to know if AstraZeneca intends to provide this information and how
 quickly it can be produced.


                                                        
 1
    The PSC also prepared a list of Nexium studies for which they are seeking additional information,
 which was provided to Defendant on November 1, 2018.
 2
    “SAS” stands for Statistical Analysis System, which is the primary means by which Defendants’
 statisticians analyze clinical trial data and other reported adverse events to determine if there are
 safety signals. The datasets requested are the compilations of data that are analyzed by SAS.  
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 Failure to Provide Adequate Information About the Authors/Recipients of Purportedly Privileged
 Material

          While the PSC continues to meet and confer with several Defendants regarding specific
 entries on their privilege logs, there remains one disputed issue common to all Defendants with
 which we have been conferring and for which we now seek the Court’s guidance. In the PSC’s
 view, Defendants are failing to provide adequate information about the authors and/or recipients
 of allegedly privileged material. As a result, Plaintiffs are unable to make an assessment about
 whether such material has been properly designated or if it should be challenged. This is not a
 trivial concern. For example, in response to the PSC’s challenge of more than 100 entries on one
 Defendant’s privilege logs, that Defendant withdrew the privileged designation on 35 percent of
 challenged documents. While it is not clear whether that same de-designation rate will apply to
 other Defendants, the PSC needs adequate information to evaluate whether purported privileged
 documents have been properly designated.

         The Privilege Log Order requires that the log comply with FRCP 26(b)(5) and describe the
 claimed privilege document to such extent as to enable the parties to assess the claim. While
 Defendants are providing individual names and which entity (in-house, corporate, outside counsel,
 etc.) to which that individual belongs, they refuse to provide additional information about the
 recipient or author of privileged material, such as a job title (current or otherwise) or description
 of the role that individual plays within the organization. Such information is needed to fairly
 evaluate the privilege determination. Moreover, such information should already be known to
 Defendants at the time they make their privilege determination, thus there should be no additional
 burden in providing this information to Plaintiffs.

        Further, there are additional ways in which the limited information provided by Defendants
 prejudices Plaintiffs’ to assess a privilege claim, including:

               Log entries fail to identify the Bates number of the document for which the
                privilege is claimed and the communication withheld. Bates numbers are required
                in order for Plaintiffs to evaluate a claim in terms of its environment, particularly
                the size of the document and family of the documents from which it originated or
                was transmitted with. See Medical Technology, Inc. v. Breg, Inc., 2010 WL
                3734719, *5 (E.D. Pa. Sept. 21, 2010);

               Log entries fail to normalize the identifying information throughout the logs. The
                “to”, “from/author” and “cc” names are provided in varying forms and
                combinations and one must repeatedly cross-reference and compare entries to one
                another in order to determine the similarities between the names and if they are
                indeed the same individual; and

               Log entries fail to identify sufficient employment information for those designated
                as “legal.” In fact, no employment information is provided for attorneys at all.
                Rather, such individuals are described as simply “legal” or as being in the “attorney
                nexus.” The information lacking includes job title and dates of employment.
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         FRCP 26(b)(5)(A) imposes the general requirement that a party’s privilege log “describe
 the nature” of the alleged privileged documents and communications withheld or redacted and to
 “do so in a manner that … will enable other parties to assess the claim.” This requirement has been
 interpreted by various federal courts to require that Defendant identify the following as to each
 document:

 (1) the date of the document;
 (2) the full name, job title, and capacity of the author(s) and of each recipient of the document,
 including all persons carbon copied and blind carbon copied;
 (3) the relationship between each recipient(s) and/or author(s);
 (4) any other individuals with access to the document and their capacities;
 (5) a description of the subject matter of the document with information sufficient to demonstrate
 the existence of a privilege;
 (6) whether the primary purpose(s) of the document was to seek or provide legal advice or services
 and whether the document was transmitted in confidence;
 (7) sufficient information to demonstrate that each element of a privilege is satisfied including a
 presentation of all factual grounds and legal analyses in a non-conclusory fashion; and
 (8) the Bates numbers of the withheld documents.

 See Rhone-Poulenc Rorer, Inc. v. Home Indem. Co., 32 F.3d 851, 862 (3d Cir. 1994); see also In
 re Grand Jury Investigation, 599 F.2d 1224, 1233 (3d Cir. 1979); Medical Technology, Inc. v.
 Breg, Inc., 2010 WL 3734719, *5 (E.D. Pa. Sept. 21, 2010). In addition, paragraph B(3) of the
 Privilege Log Order sets for certain additional information that must be provided, if available,
 including Document Title and Subject Line.

         Defendants have argued that they have no obligation to provide information beyond what
 is included in the Privilege Log Order. However, Defendants’ refusal to provide the additional
 information requested significantly impedes Plaintiffs’ ability to evaluate these claims of privilege.
 Indeed, the Takeda Defendants have suggested that Plaintiffs’ counsel search produced documents
 and publicly available information to determine the job titles and responsibilities at individuals
 listed on the privilege log. However, it is not Plaintiffs’ burden to prove material is privileged.
 Rather, that burden rests with Defendants. Plaintiffs are simply requesting information that is
 readily available to Defendants and which should have been considered by them before even
 making their privilege determinations. It should not now be Plaintiffs’ responsibility to hunt down
 the most basic information needed to evaluate a claim of privilege. The burden of establishing that
 a document is privileged is on the party asserting the privilege. See Nanticoke Lenni-Lenape Tribal
 Nation, 2017 WL 4155368 at *3 (D.N.J. Sept. 19, 2017) citing Torres v. Kuzniasz, 936 F. Supp.
 1201, 1208 (D.N.J. 1996). See also In re Grand Jury Investigation, 918 F.2d 374, 385 n.15 (3d
 Cir. 1990) (discussing the settled Third Circuit rule that the party invoking privilege "has the
 burden of proving its existence and applicability"); Schwarz Pharma., Inc. v. Teva Pharma. USA,
 Inc., 2007 WL 2892744, *2 (D.N.J. Sept. 27, 2007).

         In order for the attorney-client privilege to apply, a communication must be between a
 client and his or her attorney for the purpose of obtaining legal advice. Therefore, it is necessary
 for the party claiming privilege to identify all of the parties to a communication, especially the
 attorney, if any, to enable Plaintiffs to properly review an asserted privilege. A “proper claim of
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 privilege requires a specific designation and description of the documents within its scope as well
 as precise and certain reasons for preserving their confidentiality. Thus, ‘it is incumbent upon the
 one asserting the privilege to make a proper showing that all of the elements of the privilege are
 present.’” Greene, Tweed of Delaware v. DuPont Dow Elastomers, LLC,, 202 F.R.D. 418, 423
 (D.N.J. 2001) quoting Allegheny Ludlum Corp. v. Nippon Steel Corp., 1990 WL 9837, *1 (E.D.
 Pa. Feb.1, 1990).

         Without an employer name, employment date information, or a job title or description,
 Plaintiffs cannot evaluate whether the role being played by the individual named relates to the
 provision of legal advice or some other potential non-legal purpose. This is information that should
 be provided under FRCP 26(b)(5) and the descriptions as outlined in the Privilege Log Order and
 the PSC respectfully requests that the Court order Defendants to include such information on their
 privilege logs.

         We thank the Court for its time and courtesy, and look forward to discussing these issues
 at next week’s conference.

                                                      Respectfully submitted,

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 cc: All Counsel of Record (via ECF)
